

Matter of Sachs v Sharpe (2025 NY Slip Op 01592)





Matter of Sachs v Sharpe


2025 NY Slip Op 01592


Decided on March 18, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 18, 2025

Before: Webber, J.P., Friedman, Mendez, Shulman, Rodriguez, JJ.


Appeal No. 3435|Case No. 2024-06122|

[*1]In the Matter of Laura Ann Sachs et al., Petitioners,
vCarol R. Sharpe etc., et al., Respondents.


John Sebastian Vaneria and Edward M. Shapiro, New York, for Laura Ann Sachs and Allan Preston Sachs-Ambia, petitioners and petitioners pro se.
Letitia James, Attorney General, New York (Miranda Onnen of counsel), for the State respondents.
Van Leer &amp; Greenberg, New York (Evan D. Van Leer-Greenberg of counsel), for H.M., respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 18, 2025








